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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION


NAJIY WILLIAMS,                             )
                                            )
                                            )
                    Movant,                 )
                                            )
             v.                             )   CRIMINAL NO. 5:17-CR-24 (MTT)
                                            )
UNITED STATES OF AMERICA,                   )   CIVIL ACTION NO. 5:23-CV-140 (MTT)
                                            )
                                            )
                    Respondent.             )
                                            )


                                        ORDER

      United States Magistrate Judge Charles H. Weigle recommends that Najiy

Williams’ motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

be denied. Doc. 224. Williams has not objected, so pursuant to 28 U.S.C. § 636(b)(1),

the Court reviews the Recommendation for clear error. After review, the Court accepts

and adopts the findings, conclusions, and recommendations of the Magistrate Judge.

The Recommendation (Doc. 234) is ADOPTED and made the Order of the Court.

Accordingly, William’s motion (Doc. 224) is DENIED and a certificate of appealability is

DENIED.

      SO ORDERED, this 28th day of April, 2025.

                                                S/ Marc T. Treadwell
                                                MARC T. TREADWELL, JUDGE
                                                UNITED STATES DISTRICT COURT
